Revised 05/08

                                                                 United States Bankruptcy Court
                                                                          Eastern District of Michigan
                Kevin Roland Iott
 In re          Laura Sue Iott                                                                                Case No.
                                                                                        Debtor(s)             Chapter        7


                                                              BANKRUPTCY PETITION COVER SHEET

(The debtor must complete and file this form with the petition in every bankruptcy case. Instead of filling in the boxes on the petition requiring
information on prior and pending cases, the debtor may refer to this form.)
                                                                                       Part 1
"Companion cases," as defined in L.B.R. 1073-1(b), are cases involving any of the following: (1) The same debtor; (2) A corporation and any
majority shareholder thereof; (3) Affiliated corporations; (4) A partnership and any of its general partners; (5) An individual and his or her general
partner; (6) An individual and his or her spouse; or (7) Individuals or entities with any substantial identity of financial interest or assets.
Has a "companion case" to this case ever been filed at any time in this district or any other district? Yes      No X
(If yes, complete Part 2.)
                                                                         Part 2
For each companion case, state in chronological order of cases: (Attach supplemental sheets if necessary.)
                           First Case                             Second Case                              Third Case
 Name on petition
 Relationship to this case
 Case Number
 Chapter
 Date filed
 District
 Division
 Judge
 Status/Disposition

(Pending, confirmed & still open, confirmed & closed, dismissed before/after confirmation, discharged, etc.)
If the present case is a Chapter 13 case, state for each companion case:
 Attorney
 Legal fee              $                                         $                                                      $
 Proposed legal fee in this case     $
Changes in circumstances which lead the debtor to reasonably believe that the current plan will be successful.




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                   09-48174-swr                  Doc 5            Filed 03/19/09          Entered 03/19/09 16:24:47          Page 1 of 2
Revised 05/08




                                                        Part 3 - In a Chapter 13 Case Only
The Debtor(s) certify, re: 11 U.S.C. § 1328(f):
    [indicate which]
              Debtor(s) received a discharge issued in a case filed under Chapter 7, 11, or 12 during the 4-years before filing this case.
              Debtor(s) did not receive a discharge issued in a case filed under Chapter 7, 11, or 12 during the 4-years before filing this case.
              Debtor(s) received a discharge in a Chapter 13 case filed during the 2-years before filing this case.
              Debtor(s) did not receive a discharge in a Chapter 13 case filed during the 2-years before filing this case.

I declare under penalty of perjury that I have read this form and that it is true and correct to the best of my information and belief.
 /s/ Kevin Roland Iott                                               /s/ Laura Sue Iott                       /s/ Kenneth A. Nathan
 Kevin Roland Iott                                                   Laura Sue Iott                           Kenneth A. Nathan P39142
 Debtor                                                              Debtor                                   Debtor's Attorney

 Date:      March 19, 2009                                                                                    Nathan Zousmer, P.C.
                                                                                                              29100 Northwestern Hwy., Suite
                                                                                                              260
                                                                                                              Southfield, MI 48034
                                                                                                              (248) 351-0099 Fax: (248) 351-
                                                                                                              0487




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                  09-48174-swr                   Doc 5            Filed 03/19/09          Entered 03/19/09 16:24:47        Page 2 of 2
